Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 1 of 20 PageID 3075




                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 NUVASIVE, INC.,

                     Plaintiff,

 v.                                                     Case No: 6:17-cv-2206-Orl-41GJK

 ABSOLUTE MEDICAL, LLC; GREG
 SOUFLERIS; DAVE HAWLEY;
 ABSOLUTE MEDICAL SYSTEMS,
 LLC; and RYAN MILLER;

                     Defendants.



                                         ORDER
       This cause came on for consideration without oral argument on the following motions:

       MOTION:       MOTION AND MEMORANDUM TO COMPEL
                     RESPONSES TO DISCOVERY REQUESTS SERVED
                     UPON DEFENDANT ABSOLUTE MEDICAL, LLC (Doc.
                     No. 117)

       FILED:        October 8, 2018



       THEREON it is ORDERED that the motion is GRANTED IN PART AND
       DENIED IN PART.



       MOTION:       MOTION AND MEMORANDUM TO COMPEL
                     RESPONSES TO DISCOVERY REQUESTS SERVED
                     UPON DEFENDANT DAVE HAWLEY (Doc. No. 118)

       FILED:        October 8, 2018
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 2 of 20 PageID 3076



         THEREON it is ORDERED that the motion is GRANTED IN PART AND
         DENIED IN PART.

 I.      BACKGROUND.

         On June 8, 2018, NuVasive, Inc., filed the “First Amended Complaint for Injunctive Relief

 and Damages” (the “Amended Complaint”) against Absolute Medical, LLC (“Absolute Medical”);

 Absolute Medical Systems, LLC (“AMS”); Greg Soufleris; Dave Hawley; and Ryan Miller

 (collectively, “Defendants”). Doc. No. 68. NuVasive alleges that it entered into exclusive sales

 agreements with Absolute Medical for Absolute Medical to sell NuVasive’s products. Id. at ¶¶ 8,

 32. It claims that Absolute Medical breached the agreements by:

                a. attempting to terminate the contract between it and [NuVasive]
                without cause;
                b. failing to maintain sufficient personnel to service its sales
                territory;
                c. failing to inform [NuVasive] that it is distributing competitive
                products;
                d. failing to comply with its reasonable non-compete and non-solicit
                obligations; and
                e. failing to ensure that its former sales representatives comply with
                their reasonable non-compete and non-solicit obligations.

 Id. at ¶ 2. NuVasive alleges that AMS is the successor in interest to Absolute Medical, which was

 dissolved in February 2018. Id. at ¶¶ 11, 16-24. Both Absolute Medical and AMS are limited

 liability companies with Soufleris as their sole member, president, and registered agent. Id. at ¶¶

 7, 13, 16.

        Defendants Hawley and Miller were sales representatives for Absolute Medical. Id. at ¶¶

 19, 21. Although NuVasive alleges that Hawley and Miller began working as sales representatives

 for AMS, id. at ¶¶ 19, 21, during the evidentiary hearing on the motion for a preliminary injunction,

 both Hawley and Miller testified that they never worked for AMS. Doc. No. 101-2 at 82, 102-03.

 NuVasive alleges, “Soufleris, Hawley, and Miller now sell products on AMS’ behalf that compete



                                                 -2-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 3 of 20 PageID 3077



 with [NuVasive’s] products to the same customers they sold [NuVasive’s] products on Absolute

 Medical’s behalf.” Doc. No. 68 at ¶ 23. NuVasive also alleges that Hawley and Miller are

 contractually bound “not to solicit or service the customers they solicited or serviced on Absolute

 Medical’s behalf.” Id. at ¶ 56. Hawley and Miller stated at the evidentiary hearing that there is no

 contract restricting them from selling to NuVasive’s former customers in 2017 to the present. Doc.

 No. 101-2 at 78, 99.

         NuVasive seeks injunctive relief and damages based on the following causes of action:

 Count I (Breach of Contract—Injunctive Relief against Absolute Medical); Count II (Breach of

 Contract—Damages/Arbitration against Absolute Medical); Count III (Breach of Contract—

 Injunctive Relief and Damages against AMS); Count IV (Breach of Contract—Injunctive Relief

 and Damages against Hawley and Miller); Count V (Conversion against Hawley and AMS); Count

 VI (Statutory Individual Liability against Soufleris); Count VII (Piercing the Corporate Veil

 against Soufleris); Count VIII (Florida Deceptive and Unfair Trade Practices Act against all

 Defendants); and Count IX (Tortious Interference with Business Relationships against Soufleris). 1

 Doc. No. 68 at 23-24.

         On October 8, 2018, NuVasive filed a Motion and Memorandum to Compel Responses to

 Discovery Requests Served Upon Defendant Absolute Medical, LLC (the “Absolute Medical

 Motion to Compel”), Doc. No. 117, and a Motion and Memorandum to Compel Responses to

 Discovery Requests Served Upon Defendant Dave Hawley (the “Hawley Motion to Compel”),

 Doc. No. 118. On October 25, 2018, Hawley filed his response to the Hawley Motion to Compel,




 1
   On February 15, 2018, Absolute Medical filed a counterclaim against NuVasive asserting that NuVasive failed to
 pay it commissions owed from October 31, 2017, through December 4, 2017. Doc. No. 26 at 20-21. On December 28,
 2018, Absolute Medical, Hawley, and Miller filed a motion to amend the counterclaim and to add a party. Doc. No.
 142.

                                                      -3-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 4 of 20 PageID 3078



 Doc. No. 122, and on October 26, 2018, Absolute Medical filed its response to the Absolute

 Medical Motion to Compel, Doc. No. 123. On December 5, 2018, with the Court’s authorization,

 NuVasive filed its reply to Absolute Medical’s response. Doc. Nos. 132, 133.

 II.    ANALYSIS.

        On April 6, 2018, NuVasive sent interrogatories and requests for production to Absolute

 Medical. Doc. No. 117-1 at 14; Doc. No. 117-5 at 10. On April 12, 2018, NuVasive sent

 interrogatories and requests for production to Hawley. Doc. No. 118-1 at 12; Doc. No. 118-6 at

 11. NuVasive’s discovery requests to Absolute Medical and Hawley are similar, Doc. Nos. 117,

 118, and Absolute Medical’s and Hawley’s objections are correspondingly similar, Doc. Nos. 122,

 123. To the extent that Absolute Medical and Hawley stated objections in their responses to the

 discovery requests, but failed to rely on those objections in their responses to the motions to

 compel, those objections are deemed waived.

        Without referring to a particular discovery request, Hawley and Absolute Medical argue

 that the requests are overbroad because “NuVasive has failed to include any limits in its requests

 as to subject matter, geography, or reasonable time period.” Doc. No. 122 at 5; Doc. No. 123 at 5.

 They argue that requests that pertain to the alleged breach of the non-compete agreement should

 be limited to the geographic area set forth in the non-compete agreement. Doc. No. 122 at 6; Doc.

 No. 123 at 6.

        Without identifying the specific requests that Absolute Medical and Hawley contend are

 overbroad, the Court cannot evaluate this argument. The Court will not guess which discovery

 requests Absolute Medical and Hawley believe “pertain to the alleged breach of the non-compete

 agreement . . . .” Doc. No. 122 at 6; Doc. No. 123 at 6. Accordingly, their general objections based

 on overbreadth are overruled.



                                                 -4-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 5 of 20 PageID 3079



         A.      Interrogatories

                 1.      Failure to Verify Interrogatory Answers

         NuVasive asks the Court to compel Absolute Medical to verify its supplemental answers

 to Interrogatories #1, #2, #11, and #12, and Hawley to verify his supplemental answers to

 Interrogatories #3, #4, #9, and #11. Doc. No. 117 at 8-9, 13, 14; Doc. No. 118 at 8, 9, 11-12, 13.

 Absolute Medical responds that it “is currently in the process of having such responses verified

 and Absolute Medical will file a notice of serv[]ing supplemental responses to interrogatories with

 the Court to provide notice of serving the same.” Doc. No. 123 at 7. No such filing has occurred.

         First, answers to interrogatories must be verified. Fed. R. Civ. P. 33(b)(3) (“Each

 interrogatory must, to the extent it is not objected to, be answered separately and fully in writing

 under oath.”). Second, pursuant to the Case Management and Scheduling Order and Local Rule

 3.03, discovery is not to be filed with the Court. Doc. No. 46 at 3. Absolute Medical provides no

 justification for failing to verify all its answers to the interrogatories and is therefore compelled to

 serve verified answers to NuVasive to the extent that it has not yet done so.

         Hawley responds, and NuVasive agrees, that on October 15, 2018, Hawley served

 NuVasive with verified responses. Doc. No. 122 at 6; Doc. No. 133 at 2. Thus, this issue is moot

 as to Hawley.

                 2.      Interrogatory #1 to Absolute Medical

         NuVasive’s Interrogatory #1 to Absolute Medical asks for the following:

                 Please identify all of your Employees and/or independent
                 contractors since January 1, 2017, by stating:

                 (a) the individual’s name;
                 (b) the individual’s address;
                 (c) the individual’s start and termination dates;
                 (d) the individual’s job responsibilities;
                 (e) whether the individual was or is subject to a non-compete


                                                  -5-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 6 of 20 PageID 3080



                agreement; and
                (f) if the individual was or is not subject to a non-compete
                agreement, please state why you did not require him or her to sign
                such an agreement as a condition of his or her employment.

 Doc. No. 117 at 6. Absolute Medical did not object to this interrogatory. In response, Absolute

 Medical submitted a chart and stated that “several individuals objected to signing non-compete

 agreements and other non-compete agreements were never finalized by the parties.” Id. Absolute

 Medical did not indicate “(i) which individuals identified in the chart objected to signing the non-

 compete agreements; and (ii) which agreements were never finalized.” Id. at 7-8. NuVasive asks

 the Court to order Absolute Medical to provide this missing information. Id. at 8.

        Absolute Medical argues that it provided this information during the evidentiary hearing

 held on June 28, 2018. Doc. No. 123 at 6-7. Regardless of whether the information was provided

 in some other format, Absolute Medical remains under an obligation to fully answer Interrogatory

 #1. The Absolute Medical Motion to Compel is granted as to Interrogatory #1.

                3.      Interrogatories #4 and #5 to Absolute Medical

        Interrogatories Nos. 4 and 5 to Absolute Medical ask the following questions:

                INTERROGATORY #4: Please identify all bank accounts you
                maintained in calendar years 2017 and 2018.

                INTERROGATORY #5: Please identify all disbursements you
                made to Soufleris and/or a business entity created and/or controlled
                by Soufleris in calendar years 2017 and 2018 by identifying:

                (a) the date of the disbursement;
                (b) the amount of the disbursement; and
                (c) person or entity to whom you made the disbursement.

 Doc. No. 117 at 9, 10. Absolute Medical objected to both, stating that the interrogatories call for

 irrelevant information that is not proportional to the needs of the case. Id. Absolute Medical also

 states in its response that NuVasive “has not alleged in its Complaint that Greg Soufleris



                                                 -6-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 7 of 20 PageID 3081



 commingled any funds and, as such, this request is wholly irrelevant to the claims raised in this

 action.” Id. Absolute Medical states in its response to the Absolute Medical Motion to Compel that

 its objection to Interrogatory #4 “is now moot because NuVasive obtained this information at the

 evidentiary hearing on June 28, 2018, on NuVasive’s Motion for Preliminary Injunction . . . .”

 Doc. No. 123 at 7. As Absolute Medical has declared its own relevancy objection to Interrogatory

 #4 moot, the Court overrules the objection.

         Absolute Medical also states that “NuVasive obtained hundreds of pages of documents in

 response to its subpoena duces tecum to Bank of America, N.A. . . . Thus, once again, it is unclear

 what supplemental response NuVasive is seeking from Absolute Medical.” Id. at 8. Interrogatory

 #4, however, is not limited to bank accounts at Bank of America. The Absolute Medical Motion

 to Compel is granted as to Interrogatory #4.

         Regarding Interrogatory #5, Absolute Medical states that it is not limited in subject matter

 or time. Id. at 8. Absolute Medical also argues that Soufleris has a pending motion to dismiss

 Count VI (Statutory Individual Liability against Soufleris) and Count VII (Piercing the Corporate

 Veil against Soufleris), as piercing the corporate veil is not a separate cause of action, and therefore

 Interrogatory #5 “is not relevant or proportional to the claims and defenses in this action.” Id.

         Interrogatory #5 is limited in time (“calendar years 2017 and 2018”) and by subject (“all

 disbursements you made to Soufleris and/or a business entity created and/or controlled by

 Soufleris”). Doc. No. 117 at 10. Therefore, it is not overbroad.

         Regarding relevancy, Federal Rule of Civil Procedure 26(b)(1) provides the following:

                 Parties may obtain discovery regarding any nonprivileged matter
                 that is relevant to any party’s claim or defense and proportional to
                 the needs of the case, considering the importance of the issues at
                 stake in the action, the amount in controversy, the parties’ relative
                 access to relevant information, the parties’ resources, the importance



                                                  -7-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 8 of 20 PageID 3082



                of the discovery in resolving the issues, and whether the burden or
                expense of the proposed discovery outweighs its likely benefit.

        As the Court previously stated in ruling on an earlier discovery motion, NuVasive alleges

 in the Amended Complaint that “‘as part of the process of dissolving Absolute Medical, Soufleris

 transferred significant amounts of money from Absolute Medical’s accounts into other businesses,

 including, without limitation, AMS.’” Doc. No. 107 at 9-10 (quoting Doc. No. 68 at ¶ 15).

 Interrogatory #5 is relevant to this allegation and not out of proportion to the claims in this action,

 and therefore Absolute Medical is compelled to answer it.

                4.      Interrogatory #8 to Absolute Medical

        Interrogatory #8 to Absolute Medical asks Absolute Medical to “refer to the Agreement,

 and identify every act you took to comply with Section 5.09(a) of the Agreement.” Doc. No. 117

 at 11. According to NuVasive, Section 5.09(a) requires Absolute Medical to update Exhibit G to

 the January 1, 2017 Exclusive Sales Representative Agreement as amended by the July 1, 2017

 Territory Transition Agreement (the “Agreement”). Id. Absolute Medical objected to the

 interrogatory as irrelevant and not proportional to the needs of the case. Id. In the response to the

 Absolute Medical Motion to Compel, however, Absolute Medical states the following:

                Absolute Medical determined it would supplement Interrogatory
                No. 8 by responding that it did not provide updates to NuVasive.
                Absolute Medical is currently in the process of having such
                responses verified and Absolute Medical will file a notice of
                servicing supplemental responses to interrogatories with the Court
                to provide notice of serving the same.

 Doc. No. 123 at 8. Thus, Absolute Medical states that it will answer the interrogatory. If it has not

 previously done so, it shall respond to Interrogatory #8.

                5.      Interrogatory #11 to Absolute Medical

        NuVasive propounded the following interrogatory to Absolute Medical:



                                                  -8-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 9 of 20 PageID 3083



                    INTERROGATORY #11: Have you ever shipped, mailed, or
                    otherwise transferred surgical instruments to Alphatec that were not
                    created by Alphatec? If so, please state:

                    (a) The date you shipped, mailed, or otherwise transferred the
                    surgical instruments to Alphatec;
                    (b) the types of surgical instruments that you shipped, mailed, or
                    otherwise transferred to Alphatec; and
                    (c) the manufacturer of the surgical instruments you shipped,
                    mailed, or otherwise transferred to Alphatec.

 Doc. No. 117 at 12. Absolute Medical objected to Interrogatory #11, but also stated,

 “Notwithstanding said objections, Defendant has never shipped, mailed, or otherwise transferred

 NuVasive surgical instruments [to] Alphatec.” 2 Id. NuVasive argues that Absolute Medical cannot

 rephrase the interrogatory and asks the Court to order it to “disclose whether [Absolute Medical]

 ever sent instruments to Alphatec that were not created by Alphatec; and . . . not limit its answer

 to mean only those instruments it identifies as NuVasive surgical instruments.” Id. at 13.

           Absolute Medical argues that “it is entirely irrelevant whether Absolute Medical ever

 shipped non-Alphatec instruments that were not created or designed by NuVasive to Alphatec.”

 Doc. No. 123 at 9. It states that after the meet-and-confer with NuVasive’s counsel, it “is aware of

 what additional information NuVasive is seeking, it has supplemented its responses to

 interrogatories and is currently in the process of having such responses verified.” Id. Both

 NuVasive and Absolute Medical appear to agree on the information NuVasive is seeking via

 Interrogatory #11--“whether Absolute Medical ever shipped instruments to Alphatec that

 NuVasive ‘designed’ for Dr. Sawin.” Id.; Doc. No. 117 at 13. Absolute Medical states in its

 response to the Absolute Medical Motion to Compel that it “never shipped instruments that

 NuVasive designed for Dr. Sawin to Alphatec.” Doc. No. 123 at 9. If Absolute Medical has not




 2
     Alphatec is NuVasive’s competitor. Doc. No. 68 at ¶ 12.

                                                         -9-
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 10 of 20 PageID 3084



  previously supplemented its answer to Interrogatory #11 with this information and under oath, it

  is ordered to do so now.

                 6.      Interrogatory #3 to Hawley

         Interrogatory #3 to Hawley asks the following:

                 Please identify all physicians and/or medical facilities within your
                 current sales territory. For each physician and medical facility you
                 identify, please state:

                 (a) All sales you have made to the physician or health care facility
                 you have made since May 1, 2017; and
                 (b) Whether you called on or serviced the physician or health care
                 facility on NuVasive’s behalf in calendar years 2016 or 2017.

  Doc. No. 118 at 6. In the response to the Hawley Motion to Compel, Hawley argues that the

  interrogatory is irrelevant and not proportional because there is not a valid non-compete agreement

  between him and Absolute Medical that NuVasive can enforce. Doc. No. 122 at 7. Hawley also

  argues that the interrogatory is “not limited in subject matter, geography, or to a reasonable time

  frame.” Id. Hawley argues that the non-compete agreement is only enforceable within a certain

  location and that the time period beginning May 1, 2017, is improper because “there are no

  allegations in the Amended Complaint regarding any time period prior to Hawley’s resignation

  from Absolute Medical or Absolute Medical’s resignation from NuVasive in November, 2017.”

  Id.

         Whether there is a valid non-compete agreement between Hawley and Absolute Medical

  that NuVasive can enforce is an issue to be decided in this litigation. Doc. No. 68 at ¶¶ 34, 36.

  Hawley’s conclusory assertion that there is not a valid non-compete agreement fails to support the

  argument that Interrogatory #3 requests irrelevant information. Although there may not be any

  allegations in the Amended Complaint regarding a time period before Hawley’s resignation, that

  does not lead to the conclusion that information predating the resignation is irrelevant to either the


                                                  - 10 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 11 of 20 PageID 3085



  breach of contract claims or the other claims in this litigation. Six months prior to Hawley’s

  resignation is a reasonable time period. Additionally, the interrogatory is limited in geography to

  Hawley’s “current sales territory.” Doc. No. 118 at 6. Therefore, Hawley’s objections to

  Interrogatory #3 are overruled.

                 7.     Interrogatory #5 to Hawley

         In Interrogatory #5, NuVasive asks Hawley to “[p]lease identify every surgeon in your

  Alphatec sales territory who is a party to a consulting, design, or other contractual relationship

  with Alphatec.” Doc. No. 118 at 9. Hawley objected to this interrogatory, and in the response to

  the Hawley Motion to Compel argues that it requests irrelevant information. Doc. No. 122 at 8.

  Hawley argues, “There are no allegations in the Amended Complaint concerning surgeons that are

  in a contractual relationship with Alphatec.” Id. NuVasive contends that the answer will “coincide

  with the surgeons within Hawley’s former NuVasive sales territory who were parties to similar

  agreements with NuVasive.” Doc. No. 118 at 10. NuVasive states that the information is “relevant

  to whether Hawley is misappropriating that knowledge in his efforts to convert business to

  Alphatec.” Doc. No. 118 at 10. Whether a surgeon that Absolute Medical previously sold

  NuVasive products to is now a party to a contract with NuVasive’s competitor Alphatec is relevant

  to whether the confidentiality, non-competition, and non-solicitation agreements between

  NuVasive and Absolute Medical were breached. Therefore, Hawley is ordered to answer

  Interrogatory #5.

                 8.     Interrogatory #9 to Hawley

         Interrogatory #9 asks Hawley to “identify all electronic devices you utilized in calendar

  years 2017 and 2018, and state whether you still possess each device.” Doc. No. 118 at 11. It was

  subsequently limited “to devices that Hawley used on behalf of his work with NuVasive, Absolute



                                                - 11 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 12 of 20 PageID 3086



  Medical, and Alphatec.” Id. Although Hawley states in his response to the Hawley Motion to

  Compel that the interrogatory requests irrelevant information and is overbroad, he states that he

  did identify the devices he used while working for Absolute Medical and NuVasive. Doc. No. 122

  at 8. Hawley does not explain how the question could be considered overbroad or irrelevant as to

  Alphatec, NuVasive’s competitor that NuVasive alleges Hawley now sells competing products

  for. Hawley is therefore ordered to provide a verified answer to Interrogatory #9 including devices

  he used in 2017 and 2018 while working for Alphatec.

                 9.      Interrogatory #11 to Hawley

         Interrogatory #11 asks Hawley to “identify all custom instruments that Alphatec has

  created for Dr. Paul Sawin.” Doc. No. 118 at 12. NuVasive contends that this “is relevant to

  NuVasive’s allegation that Hawley shipped products to Alphatec that were designed by NuVasive

  for Dr. Sawin . . . .” Id. Hawley argues in his response to the Hawley Motion to Compel that the

  interrogatory is overbroad because “is not limited in time, subject matter, or geography . . . .” Doc.

  No. 122 at 8. Specifically, the request is not limited to the time period relevant to this litigation or

  “to instruments that Hawley requested be created for Dr. Paul Sawin.” Id. at 8-9. As the request is

  not reasonably limited in time, the Hawley Motion to Compel is denied as to Interrogatory #11.

         B.      Requests for Production

                 1.      Requests for Production of Financial Records

         NuVasive asks both Absolute Medical and Hawley to produce certain financial records.

  Specifically, it requests the following from Absolute Medical:

                 REQUEST FOR PRODUCTION #5: Please produce all state and
                 federal income tax returns that you filed or caused to be filed for
                 calendar years 2016 and 2017.

                 REQUEST FOR PRODUCTION #6: Please produce all of your
                 profit and loss statements that were generated since June 1, 2017.


                                                   - 12 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 13 of 20 PageID 3087




                REQUEST FOR PRODUCTION #7: Please produce all of your
                balance sheets that were generated since June 1, 2017.

                REQUEST FOR PRODUCTION #8: Please produce all of your
                payroll records since June 1, 2017.

                REQUEST FOR PRODUCTION #9: Please produce all of your
                data from QuickBooks (or other financial reporting software) since
                June 1, 2017.

                REQUEST FOR PRODUCTION #10: Please produce all check
                registers you created, modified, or otherwise inputted data since
                June 1, 2017.

                REQUEST FOR PRODUCTION #11: Please produce all of your
                bank statements since June 1, 2017.

                REQUEST FOR PRODUCTION #12: Please produce all requests
                for expense reimbursement you have received since June 1, 2017.

  Doc. No. 117 at 15, 17-21. From Hawley, NuVasive requests the following:

                RFP #13: Please produce all charge sheets you submitted to or on
                behalf of Alphatec.

                RFP #14: Please produce all state and federal income tax returns
                that you filed or caused to be filed for calendar years 2016 and 2017.

                RFP #15: Please produce all requests for expense reimbursements
                you submitted to Alphatec, Absolute, or any other participant in the
                spine industry (other than NuVasive) since June 1, 2017.

                RFP #16: Please produce all records of payments you have received
                from Alphatec, Absolute, or any other participant in the spine
                industry (other than NuVasive) since March 1, 2017.

                RFP #17: Please produce all commission statements you have
                received from Alphatec, Absolute, or any other participant in the
                spine industry (other than NuVasive) since March 1, 2017.

  Doc. No. 118 at 20, 22-25.

         Absolute Medical and Hawley offer identical reasons for why the requests for financial

  documents are irrelevant and not proportional in their responses to the motions to compel. Doc.


                                                - 13 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 14 of 20 PageID 3088



  No. 122 at 10; Doc. No. 123 at 10. They assert that the “requests are not reasonably limited in

  time, subject matter, or geography . . . .” Doc. No. 122 at 10; Doc. No. 123 at 10. They argue that

  there are no allegations regarding their activities in 2016, and that the requests are not limited “to

  the particular subject matter of this action, specifically, spinal products or services that compete

  with NuVasive.” Doc. No. 122 at 10; Doc. No. 123 at 10. Their last argument is that the time

  periods in the requests are “prior to the relevant time period concerning the claims and allegations

  in the Amended Complaint.” Doc. No. 122 at 10; Doc. No. 123 at 10.

         Absolute Medical’s and Hawley’s objections that the requests are not reasonably limited

  in time, subject matter or geography are too general to evaluate. They fail to discuss which of these

  objections apply to which of the requests for financial records. The Court will not make these

  determinations for them.

         As to Absolute Medical’s and Hawley’s objections regarding producing records from 2016,

  the only financial records requested for 2016 are the state and federal income tax returns. Doc. No.

  117 at 15; Doc. No. 118 at 22. Although the Amended Complaint may not contain any allegations

  regarding 2016, at the evidentiary hearing, Soufleris (the president of Absolute Medical) testified

  that in the summer of 2017 Absolute Medical was losing money selling NuVasive’s products. Doc.

  No. 101-2 at 31. He further testified that in November 2017, Absolute Medical’s business of selling

  NuVasive’s products was not sustainable. Id. at 32. Thus, financial information from 2016 is

  relevant in determining the credibility of Soufleris’s statements regarding what financial changes

  commenced in 2017.

         Regarding Hawley, NuVasive argues that his tax returns may reveal relevant information

  “such as when he began receiving payments from Alphatec in violation of the non-compete and

  nonsolicitation obligations.” Doc. No. 118 at 22-23. Hawley testified at the evidentiary hearing



                                                  - 14 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 15 of 20 PageID 3089



  that he began working for Absolute Medical in 2013, resigned in 2017, and began working for

  Alphatec. Doc. No. 101-2 at 75, 79-80. Based on Hawley’s testimony and the testimony at the

  evidentiary hearing regarding when Absolute Medical began losing money, 2016 is an appropriate

  time period for Hawley’s tax returns.

          The time periods for the other financial records begin in March or June 2017. 3 Doc. No.

  117 at 15, 17-21; Doc. No. 118 at 20, 22-25. Although Absolute Medical and Hawley argue that

  this is prior to the relevant time period, they do not specify what they contend is the relevant time

  period or otherwise identify to what extent the specified time periods are allegedly overbroad. As

  stated above, information predating November 2017 may be relevant to the causes of action in this

  litigation. Eight months before November 2017 is a reasonable time period.

          As none of Absolute Medical’s and Hawley’s objections to producing the financial records

  have merit, the motions to compel are granted as to the requests to produce.

                   2.       Request for Production #1 to Absolute Medical

          NuVasive sent the following request for production to Absolute Medical:

                   REQUEST FOR PRODUCTION #1: Please produce all of your
                   contracts or other agreements with:

                   (a) Soufleris;
                   (b) Hawley;
                   (c) Ryan Miller;
                   (d) Brandon Gottstein;
                   (e) Thad Brag[]ula;
                   (f) Brennan Burkhart; and
                   (g) Alphatec.

  Doc. No. 117 at 14. NuVasive states that it received “Independent Contractor Agreements for Dave

  Hawley, Ryan Miller, Brandon Gottstein, and Alphatec.” Id. at 15. It has not received contracts or



  3
    No time restriction is given for Hawley’s charge sheets from Alphatec, but Hawley testified that he began working
  for Alphatec in 2017. Doc. No. 101-2 at 79-80.

                                                        - 15 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 16 of 20 PageID 3090



  other agreements for Bragulla and Burkhart, despite “Bragulla provid[ing] a sworn declaration

  stating that he signed a non-compete agreement with Absolute Medical as a condition of his

  employment.” Id. NuVasive asks that Absolute Medical “produce any remaining documents that

  are responsive to this Request; and/or . . . explain the reason for failing to produce documents

  related to Thad Bragulla and Brennan Burkhart.” Id.

          In response, Absolute Medical states that agreements between it and Bragulla and Burkhart

  are irrelevant and not proportional because “[t]here are no allegations in the Amended Complaint

  regarding Thad Bragulla or Brennan Burkhart or Absolute Medical’s relationship with these third

  parties.” Doc. No. 123 at 10. Absolute Medical contends that because Bragulla is not a defendant

  and NuVasive is not seeking to enforce a non-compete agreement against him, it is irrelevant

  whether he had a non-compete agreement with Absolute Medical. Id. Absolute Medical also states

  that “both parties agree that Thad Bragulla, and Brennan Burkhart had non-compete agreements.”

  Id.

          NuVasive alleges in the Amended Complaint that Absolute Medical breached the

  Agreement by not enforcing its sales representatives’ non-solicitation and non-competition

  obligations and falsely representing that its sales representatives are not subject to such obligations.

  Doc. No. 68 at ¶ 78. Bragulla was a sales representative for Absolute Medical and is now a

  NuVasive employee. Doc. No. 19-3 at ¶ 2. Burkhart was also a sales representative for Absolute

  Medical. Doc. No. 101-2 at 33. Copies of agreements between Absolute Medical and Bragulla and

  Burkhart are therefore relevant and proportional, and Absolute Medical is ordered to produce all

  documents responsive to Request for Production #1. The Court will not order Absolute Medical to

  “explain the reason for failing to produce documents related to Thad Bragulla and Brennan

  Burkhart,” Doc. No. 117 at 15, however, as this is beyond the scope of a request for production.



                                                   - 16 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 17 of 20 PageID 3091



                  3.      Requests for Production #3 through #12 to Hawley

          NuVasive sent the following requests for production to Hawley:

                  RFP #3: Please produce all Communications between you and
                  Soufleris from June 1, 2017, to the present.

                  RFP #4: Please produce all Communications between you and Ryan
                  Miller from June 1, 2017, to the present.

                  RFP #5: Please produce all Communications between you and
                  Brandon Gottstein from June 1, 2017, to the present.

                  RFP #6: Please produce all Communications (that were not
                  responsive to Requests 3 through 5) between you and Absolute,
                  Absolute Medical, Inc., Absolute Medical Systems, LLC, and/or
                  any other entities owned or controlled by Soufleris from June 1,
                  2017, to the present.

                  RFP #7: Please produce all Communications between you and
                  Elizabeth Lukianov from June 1, 2017, to the present.

                  RFP #8: Please produce all Communications between you and
                  Craig Hunsaker from June 1, 2017, to the present.

                  RFP #9: Please produce all Communications between you and Pat
                  Miles from June 1, 2017, to the present.

                  RFP #10: Please produce all Communications (that were not
                  responsive to Requests 7 through 9) between you and Alphatec from
                  June 1, 2017, to the present.

                  RFP #11: Please produce all Communications between you and Dr.
                  Paul Sawin between June 1, 2017, and the present.

                  RFP #12: Please produce all Communications between you and Dr.
                  Rafael Allende between June 1, 2017, and the present.

  Doc. No. 118 at 13-19. NuVasive “agreed to exclude communications of a personal nature . . . .”

  Doc. No. 122 at 9.

          Hawley once again argues that the “requests are not reasonably limited in time, subject

  matter, or geography . . . .” Id. Hawley asserts that “June 1, 2017, . . . is prior to the relevant time



                                                   - 17 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 18 of 20 PageID 3092



  period concerning the claims and allegations in the Amended Complaint.” Id. This argument is

  rejected for the reasons stated above.

          Hawley’s next argument is that the requests are not limited to “communications involving

  the particular subject matter of this action, specifically, spinal products or services that compete

  with NuVasive and communications concerning the alleged conversion of NuVasive instruments.”

  Id. Hawley points out that the requests are not limited “to the specific territory that NuVasive is

  seeking to enforce the alleged non-compete.” Id. Hawley also implies that a request for

  communications between himself and any other entity owned or controlled by Soufleris is

  irrelevant. Id.

          The requests are limited to those communications from June 1, 2017 to the present and,

  based on the parties’ agreement, exclude personal matters. Thus, they are reasonably limited.

  Communications between Hawley and any other entity owned or controlled by Soufleris are

  relevant to NuVasive’s claims that Hawley breached his non-competition and non-solicitation

  obligations to NuVasive and Hawley’s testimony at the evidentiary hearing that he is not involved

  with AMS. Therefore, Hawley’s objections to producing documents responsive to Requests for

  Production #3 through #12 are overruled.

  III.    CONCLUSION.

          Based on the forgoing, it is ORDERED as follows:

          1. The Absolute Medical Motion to Compel (Doc. No. 117) is GRANTED IN PART

              AND DENIED IN PART as follows:

              A. To the extent that Absolute Medical has not served answers, amended and

                    supplemental answers to the interrogatories that are not verified, it shall do so;




                                                    - 18 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 19 of 20 PageID 3093



           B. Regarding Interrogatory #1, Absolute Medical shall identify, under oath, which

              individuals objected to signing the non-compete agreements and which agreements

              were never finalized;

           C. Regarding Interrogatory #11, Absolute Medical shall answer, under oath, whether

              Absolute Medical ever shipped instruments to Alphatec that NuVasive designed for

              Dr. Sawin;

           D. Regarding Request for Production #1, Absolute Medical shall produce documents

              regarding Bragulla and Burkhart;

           E. Absolute Medical shall submit full and complete verified answers to Interrogatories

              #4, #5, and #8, and produce the documents responsive to the Requests for

              Production #1, #5, #6, #7, #8, #9, #10, #11, and #12;

           F. In all other respects, the Absolute Medical Motion to Compel is DENIED;

        2. The Hawley Motion to Compel (Doc. No. 118) is GRANTED IN PART AND

           DENIED IN PART as follows:

           A. The request that Hawley be compelled to serve verified answers to interrogatories

              is DENIED AS MOOT;

           B. Regarding Interrogatory #9, Hawley shall submit a full and complete answer

              regarding the devices he used on behalf of Alphatec in calendar years 2017 and

              2018 and whether he still possesses each device;

           C. Hawley shall submit full and complete verified answers to Interrogatories #3 and

              #5, and produce the documents responsive to the Requests for Production #3, #4,

              #5, #6, #7, #8, #9, #10, #11, #12 as limited to exclude communications of a personal

              nature, and #13, #14, #15, #16, and #17; and



                                             - 19 -
Case 6:17-cv-02206-CEM-GJK Document 145 Filed 01/30/19 Page 20 of 20 PageID 3094



             D. In all other respects, the Hawley Motion to Compel is DENIED.

         3. Absolute Medical and Hawley shall serve the discovery ordered herein on or before

             February 13, 2019.

         DONE and ORDERED in Orlando, Florida, on January 30, 2019.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




                                             - 20 -
